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                         IN THE UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

                                                                     )
    In re:                                                           )   Chapter 11
                                                                     )
    BENEVIS CORP., et al.1                                           )   Case No. 20-33918 (MI)
                                                                     )
                              Debtors.                               )   (Jointly Administered)
                                                                     )   RE: Docket No. 13

                         ORDER (I) AUTHORIZING
                THE DEBTORS TO FILE A CONSOLIDATED LIST
              OF CREDITORS AND A CONSOLIDATED LIST OF THE
         30 LARGEST UNSECURED CREDITORS, (II) AUTHORIZING THE
DEBTORS TO REDACT CERTAIN PERSONAL IDENTIFICATION INFORMATION,
AND (III) APPROVING THE FORM AND MANNER OF NOTIFYING CREDITORS OF
             THE COMMENCEMENT OF THESE CHAPTER 11 CASES

             Upon the motion (the “Motion”)2 of the above-captioned debtors and debtors in possession

(collectively, the “Debtors”) for entry of an order (this “Order”), (a) authorizing the Debtors to file

a consolidated creditor matrix and list of the 30 largest general unsecured creditors in lieu of

submitting separate mailing matrices and creditor lists for each Debtor, (b) authorizing the Debtors

to redact certain personal identification information, and (c) approving the form and manner of

notice of commencement of these chapter 11 cases and the scheduling of the meeting of creditors

under section 341 of the Bankruptcy Code, all as more fully set forth in the Motion; and upon the

First Day Declarations; and this Court having jurisdiction over this matter pursuant to 28 U.S.C.

§ 1334; this Court having found that this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2);

and this Court having found that it may enter a final order; and this Court having found that venue


1     The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, as follows: Benevis Corp. (0242); LT Smile Corporation (2818); Benevis Holding Corp. (0222); Benevis
      Affiliates, LLC (7420); Benevis, LLC (5524); Benevis Informatics, LLC (7833). The address of the Debtors’
      headquarters is 1090 Northchase Parkway S.E., Suite 150, Marietta, GA 30067.
2      Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion.
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of this proceeding and the Motion in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409;

and this Court having found that the relief requested in the Motion is in the best interests of the

Debtors’ estates, their creditors, and other parties in interest; and this Court having found that the

Debtors’ notice of the Motion and opportunity for a hearing on the Motion were appropriate under

the circumstances and no other notice need be provided; and this Court having reviewed the

Motion and having heard the statements in support of the relief requested therein at a hearing

before this Court (the “Hearing”); and this Court having determined that the legal and factual bases

set forth in the Motion and at the Hearing establish just cause for the relief granted herein; and

upon all of the proceedings had before this Court; and after due deliberation and sufficient cause

appearing therefor, it is HEREBY ORDERED THAT:

       1.      The Debtors are authorized to file a single consolidated Creditor Matrix for all of

these chapter 11 cases.

       2.      The Debtors are authorized to file a consolidated Top 30 List.

       3.      The Debtors are authorized to redact (a) address information in respect of

individuals listed on the Creditor Matrix or similar document filed with the Court. The Debtors

shall provide an unredacted version of the Creditor Matrix to the Court, the U.S. Trustee, counsel

to an official committee of unsecured creditors appointed in these chapter 11 cases (if any), and

any party in interest upon reasonable request.

       4.      The Debtors are authorized to serve the Notice of Commencement, substantially in

the form attached hereto as Exhibit 1, on the Creditor Matrix.            Service of the Notice of

Commencement shall be deemed adequate and sufficient notice of: (a) the commencement of

these chapter 11 cases; and (b) the scheduling of the meeting of creditors under section 341 of the

Bankruptcy Code.
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       5.      Notice of the Motion satisfies the requirements of Bankruptcy Rule 6004(a) and the

Local Rules are satisfied by such notice.

       6.      Notwithstanding Bankruptcy Rule 6004(h), the terms and conditions of this Order

are immediately effective and enforceable upon its entry.

       7.      The Debtors are authorized to take all actions necessary to effectuate the relief

granted in this Order in accordance with the Motion.

       8.      This Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Order.

 Houston, Texas
 Dated: ___________, 2020

                                                  MARVIN ISGUR
                                                  UNITED STATES BANKRUPTCY JUDGE
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 Information to identify the case:

 Debtor:        Benevis Corp., et al.                                                    EIN:   XX-XXXXXXX
                Name


 United States Bankruptcy Court for the Southern District of Texas
                                                                     Date case filed for Chapter 11:
 Case Number:       20-33918(MI)                                     August 2, 2020

Official Form 309F (For Corporations or Partnerships)

Notice of Chapter 11 Bankruptcy Case                                                                             12/17


For the debtor listed above, a case has been filed under chapter 11 of the Bankruptcy Code. An
order for relief has been entered.
This notice has important information about the case for creditors, debtors, and trustees, including
information about the meeting of creditors and deadlines. Read both pages carefully.
The filing of the case imposed an automatic stay against most collection activities. This means that creditors
generally may not take action to collect debts from the debtor or the debtor’s property. For example, while
the stay is in effect, creditors cannot sue, assert a deficiency, repossess property, or otherwise try to collect
from the debtor. Creditors cannot demand repayment from the debtor by mail, phone, or otherwise.
Creditors who violate the stay can be required to pay actual and punitive damages and attorney’s fees.
Confirmation of a chapter 11 plan may result in a discharge of debt. A creditor who wants to have a
particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk’s office
within the deadline specified in this notice. (See line 11 below for more information.)
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the
bankruptcy clerk’s office at the address listed below or through PACER (Public Access to Court Electronic
Records at www.pacer.gov).
 The staff of the bankruptcy clerk’s office cannot give legal advice.
Do not file this notice with any proof of claim or other filing in the case.
1. Debtors’ full name: See chart below.
      List of Jointly Administered Cases

 NO.                    DEBTOR                            ADDRESS                       CASE NO.             EIN #
                                               1090 Northchase Parkway SE,
  1      Benevis Corp.                         Suite 150                                 20-33918      XX-XXXXXXX
                                               Marietta, GA 30067
                                               1090 Northchase Parkway SE,
  2      Benevis Affiliates, LLC               Suite 150                                 20-33919      XX-XXXXXXX
                                               Marietta, GA 30067
                                               1090 Northchase Parkway SE,
  3      Benevis Holding Corp.                 Suite 150                                 20-33920      XX-XXXXXXX
                                               Marietta, GA 30067
                                               1090 Northchase Parkway SE,
  4      Benevis Informatics, LLC              Suite 150                                 20-33921      XX-XXXXXXX
                                               Marietta, GA 30067
                                               1090 Northchase Parkway SE,
  5      Benevis, LLC                          Suite 150                                 20-33922      XX-XXXXXXX
                                               Marietta, GA 30067




Official Form 309F (For Corporations or Partnerships)                         Notice of Chapter 11 Bankruptcy Case
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                                                    1090 Northchase Parkway SE,
       6     LT Smile Corporation                   Suite 150                            20-33923         XX-XXXXXXX
                                                    Marietta, GA 30067


2. All other names used in the last 8 years: See Rider 1.
3. Address:See chart above.
4. Debtors’ attorneys:
Matthew D. Cavenaugh (TX Bar No. 24062656)                                 Debtors’ notice and claims agent (for court
Veronica A. Polnick (TX Bar No. 24079148)                                  documents and case information
Genevieve M. Graham (TX Bar No. 24085340)                                  inquiries):
Vienna F. Anaya (TX Bar No. 24091225)
JACKSON WALKER L.L.P.                                                      If by First-Class Mail:
1401 McKinney Street, Suite 1900                                           Omni Agent Solutions
Houston, Texas 77010                                                       [●]
Telephone:      (713) 836-3600                                             Attn: Benevis Corp.
Facsimile:      (713) 836-3601
Email:          mcavenaugh@jw.com                                          Telephone: (866) 771-0557 (U.S./Canada)
               vpolnick@jw.com                                             (818) 639-4846 (International)
               ggraham@jw.com
                vanaya@jw.com




Email: benevisinquiries@omniagnt.com
If by Hand Delivery or Overnight Mail:

Omni Agent Solutions
[●]
Attn: Benevis Corp.


Telephone: (866) 771-0557 (U.S./Canada)
(818) 639-4846 (International)

Email: benevisinquiries@omniagnt.com

Case website: [●]
  5. Bankruptcy Clerk’s Office                       United States Courthouse                   Hours Open: Monday - Friday
                                                                                                           8:00 AM - 5:00 PM
                                                         515 Rusk Avenue                        Contact phone: 713-250-5500
                                                      Houston, Texas 77002
 Documents in this case may be filed              All documents in this case are
           at this address.                       available free of charge on the
 You may inspect all records filed in            website of the Debtors’ notice and
  this case at this office or online at                 claims agent at [●]
           www.pacer.gov

6.     Meeting of Creditors                   Time and Date:                                      Location:

The debtor’s representative must              The meeting may be continued or
attend the meeting to be questioned           adjourned to a later date. If so, the date will
under oath. Creditors may attend,             be on the court docket.
but are not required to do so.



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7.     Proof of claim deadline:                Deadline for filing proof of claim:      Not yet set. If a deadline is
                                                                                        set, notice will be sent at a
                                                                                        later time.
                                               A proof of claim is a signed statement describing a creditor's claim. A
                                               proof of claim form may be obtained at www.uscourts.gov or any
                                               bankruptcy clerk's office.

                                               Your claim will be allowed in the amount scheduled unless:
                                                Your claim is designated as disputed, contingent or unliquidated;
                                                You file a proof of claim in a different amount; or
                                                You receive another notice

                                               If your claim is not scheduled or if your claim is designated as disputed,
                                               contingent, or unliquidated, you must file a proof of claim or you might
                                               not be paid on your claim and you might be unable to vote on a plan.
                                               You may file a proof of claim even if your claim is scheduled.

                                               You may review the schedules at the bankruptcy clerk's office or online
                                               at www.pacer.gov

                                               Secured creditors retain rights in their collateral regardless of whether
                                               they file a proof of claim. Filing a proof of claim submits a creditor to
                                               the jurisdiction of the bankruptcy court, with consequences a lawyer
                                               can explain. For example, a secured creditor who files a proof of claim
                                               may surrender important nonmonetary rights, including the right to a
                                               jury trial.
8. Exception to discharge                      You must start a judicial proceeding by filing a complaint if you want to
deadline                                       have a debt excepted from discharge under 11 U.S.C. § 1141(d)(6)(A).

The bankruptcy clerk's office must
receive a complaint and any required           Deadline for filing the complaint: To be Determined
filing fee by the following deadline.
9. Creditors with a foreign                    If you are a creditor receiving notice mailed to a foreign address, you
address                                        may file a motion asking the court to extend the deadlines in this
                                               notice. Consult an attorney familiar with United States bankruptcy law
                                               if you have any questions about your rights in this case.

10. Filing a Chapter 11                        Chapter 11 allows debtors to reorganize or liquidate according to a
bankruptcy case                                plan. A plan is not effective unless the court confirms it. You may
                                               receive a copy of the plan and a disclosure statement telling you about
                                               the plan, and you may have the opportunity to vote on the plan. You
                                               will receive notice of the date of the confirmation hearing, and you may
                                               object to confirmation of the plan and attend the confirmation hearing.
                                               Unless a trustee is serving, the debtor will remain in possession of the
                                               property and may continue to operate its business.

11.      Discharge of debts                    Confirmation of a chapter 11 plan may result in a discharge of debts,
                                               which may include all or part of your debt. See 11 U.S.C. § 1141(d). A
                                               discharge means that creditors may never try to collect the debt from
                                               the debtor except as provided in the plan. If you want to have a
                                               particular debt owed to you excepted from the discharge under 11
                                               U.S.C. § 1141(d)(6)(A), you must start a judicial proceeding by filing a
                                               complaint and paying the filing fee in the bankruptcy clerk's office by
                                               the deadline.



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                                                        Rider 1

                                   Other Names Used in the Last 8 Years

                 Current Entity Name                                        Former Entity Name
                                                                  Benevis Acquistion Corp., NCDR Acquisition
                     Benevis Corp.
                                                                     Corp., Kool Smiles Acquisition Corp.
                Benevis Holding Corp.                               NCDR Corp., Kool Smiles Holding Corp.
                   Benevis, LLC                                                  NCDR, LLC
                                                                   Benevis Associates, LLC, Compass Dental
                Benevis Affiliates, LLC
                                                                                Alliance, LLC




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